Case 2:04-cv-02895-BBD-dkv Document 67 Filed 07/12/05 Page 1 of 3 Page|D 42

 

UNITED sTATEs DISTRICT COURT mm B"' ""~ D'c'
FOR THE wEsTEH£::sD:§II§:: 0F TENNESSEE 05 JUL |2 PH §§ 36
EDGEWOOD DEVELOPMENT CLEKDUO§ TWW§§M
COMPANY, LLC,
Plaimifr,
vs. No. 04-2895 Dv

TOWN OF COLLIERVILLE, et al,

Defendants.

 

ORDER GRANTING LEAVE TO AMEND

 

THIS CAUSE came on to be heard on Motion of the Defendant, J'ohn W. Ashworth, III
for Leave to Amend his Answer filed June 30, 2005, it appearing that there is no opposition by

Plaintiff to same.

IT IS, THEREFORE, ORDERED ADJUDGED AND DECREED that the Defendant,

John W. Ashworth, III should be and is hereby allowed to amend his Answer in accordance With

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UNITED STATES WWJ JUDGE
writs 15772#7'£

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DMF’E

his Motion.

 

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with Ru!o 58 and/or 79(3} FRCP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 67 in
case 2:04-CV-02895 Was distributed by faX, mail, or direct printing on
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Case 2:04-cv-02895-BBD-dkv Document 67 Filed 07/12/05 Page 3 of 3 Page|D 44

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Honorable Bernice Donald
US DISTRICT COURT

